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                        UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ALEX REINIG, KEN GRITZ, BOB            )
SODA, MARY LOU GRAMESKY,               )
PETER WILDER SMITH, WILLIAM            )
KINSELLA, DANIEL KOLENDA,              )      Civil Action No. 2:15-cv-01541-AJS
VALERIE DAL PINO, AHMAD NAJI,          )
ROBERT PEDERSEN, TERESA                )
FRAGALE and DAVID HOWARD,              )
                                       )
                        Plaintiffs,    )
             v.                        )      ELECTRONICALLY FILED
                                       )
RBS CITIZENS, N.A.,                    )
                                       )
                        Defendant.     )

                     MEMORANDUM OF LAW IN SUPPORT OF
                    DEFENDANT’S OMNIBUS MOTION IN LIMINE


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Dated: August 7, 2017                 Counsel for Defendant
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                          I.      RELEVANT LEGAL STANDARD

       Evidence is relevant and thus potentially admissible if it has “any tendency to make the

existence of any fact that is of consequence to the determination of the action more probable or

less probable than it would be without the evidence.” Fed. R. Evid. 401. “Evidence which is not

relevant is not admissible.” Fed. R. Evid. 402. But even relevant evidence may be inadmissible

if its probative value is outweighed by other considerations. Fed. R. Evid. 403.

       Rules 608 and 701 of the Federal Rules of Evidence govern the admissibility of
statements relating to the credibility of individual witnesses. Specifically, under Rule 608:

       The credibility of a witness may be attacked or supported by evidence in the form
       of opinion or reputation, but subject to these limitations: (1) the evidence may
       refer only to character for truthfulness or untruthfulness, and (2) evidence of
       truthful character is admissible only after the character of the witness for
       truthfulness has been attacked by opinion or reputation evidence or otherwise.
Fed. R. Evid. 608. In addition, under Rule 701, a non-expert witness may only offer opinion and

inferences “which are (a) rationally based on the perception of the witness, and (b) helpful to a

clear understanding of the witness’s testimony or the determination of a fact in issue . . . .” Fed.

R. Evid. 701.

       Finally, hearsay is inadmissible unless subject to a hearsay exception. Fed. R. Evid. 802.

Hearsay “is a statement, other than one made by the declarant while testifying at the trial or

hearing, offered in evidence to prove the truth of the matter asserted.” Fed. R. Evid. 801(c).

                                      II.     ARGUMENT

       DEFENDANT’S MOTION IN LIMINE NO. 1: During discovery, Citizens produced

thousands of pages of documents and voluminous electronically stored information (“ESI”);

however, not all of the requested data was available for production because some of it had been

purged in the ordinary course of Citizens’ business. Plaintiffs and their counsel should not be

permitted to introduce evidence or make comments suggesting that Citizens has denied or

attempted to deny Plaintiffs access to documents or other information where the documents or

ESI data no longer exist.       Such evidence would be highly prejudicial to Citizens, and
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compromise Citizens’ ability to defend itself. Fed. R. Evid. 403; see also Douglas Dynamics,

LLC v. Buyers Prods. Co., 2010 U.S. Dist. LEXIS 108170, at *9 (W.D. Wis. Oct. 8, 2010)

(granting defendant’s motion in limine to exclude at trial evidence pertaining to conduct during

discovery).

       DEFENDANT’S MOTION IN LIMINE NO. 2: Any evidence or reference to the

number of Citizens’ employees, financial condition or performance is irrelevant to the narrow

issue(s) to be decided by the jury. Defendant has not put its size or financial condition into issue,
and such evidence would prove nothing regarding Plaintiffs’ off the clock claims. Any such

evidence should be excluded under Fed. R. Evid. 401, 402 and 403. In fact, courts have long

held that “[a]ppealing to the sympathy of jurors through references to financial disparity is

improper,” and, in fact, may be grounds for a new trial. Draper v. Airco, Inc., 580 F.2d 91, 95

(3d Cir. 1978); Commercial Credit Bus. Loans, Inc. v. Martin, 590 F. Supp. 328, 333 (E.D. Pa.

1984); see also McGrane v. Shred-It USA, Inc., No. 07- 98, 2011 WL 1706777, at *2 (W.D. Pa.

May 4, 2011).

       DEFENDANT’S MOTION IN LIMINE NO. 3: Any evidence or reference to Plaintiffs

and Citizens’ settlement negotiations in this case, including the amounts of settlement proposals,

or what occurred in settlement discussions, should be excluded pursuant to Fed. R. Evid. 408.

       DEFENDANT’S MOTION IN LIMINE NO. 4: Any evidence or references regarding

other litigation against Citizens should be excluded because such evidence is irrelevant to the

issue(s) to be decided by the jury. Fed. R. Evid. 401 and 402. Moreover, the probative value of

such evidence (if any) is substantially outweighed by the danger of unfair prejudice to

Defendants and confusing or misleading the jury, or by considerations of undue delay, waste of

time or needless accumulation. Fed. R. Evid. 403; see also Stokes v. Xerox Corp., No. 05-71683,

2008 WL 275672, at *8 (E.D. Mich. Jan. 28, 2008) (granting motion in limine excluding
evidence of another lawsuit involving the defendant because it “would be more prejudicial than

probative under Fed. R. Evid. 403 as it could confuse or mislead the jury and it is not directly

related to” the plaintiff’s claim against the defendant).      Further, any such evidence would


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constitute nothing more than an attempt to establish Defendant’s purported bad character. Fed.

R. Evid. 404. Finally, the allegations in other litigation are inadmissible hearsay. Fed. R. Evid.

801 and 802; see also T.I. Constr. Co. v. Kiewit E. Co., No. 91-2638, 1992 WL 382306, at *4

(E.D. Pa. Dec. 10, 1992) (“Complaints, and the charges and allegations they contain, are hearsay

under the Federal Rules of Evidence.”).

       DEFENDANT’S MOTION IN LIMINE NO. 5: Plaintiffs should be precluded from

using Dr. Speakman to present any summary evidence or improper “expert” witness testimony
concerning alleged overtime damages because the probative value of his testimony will be

substantially outweighed by the danger of undue prejudice and confusing or misleading the jury.

Fed. R. Evid. 801, 802 and 1006. It is anticipated that Plaintiffs may seek to present testimony

from Dr. Speakman regarding summaries of Plaintiffs and Opt-In Plaintiffs’ responses to

interrogatories and alleged overtime damages. To the extent that Plaintiffs intend to offer

testimony from Dr. Speakman regarding alleged overtime damages, such testimony is improper

expert testimony because it is comprised solely of simple mathematical calculations. Fed. R.

Evid. 702. Expert testimony is not admissible unless it will be helpful to the fact finder. When

expert testimony deals only with propositions within the ken of common knowledge, such

testimony is routinely deemed unhelpful. See Bethea v. Bristol Lodge Corp., No. 01-612, 2002

WL 31859434, at *7 (E.D. Pa. Dec. 18, 2002).

       Dr. Speakman’s calculations and anticipated summaries of Plaintiffs’ responses to

interrogatories are also predicated solely on hearsay from Plaintiffs themselves, or otherwise

based on pure speculation. Courts have held that Fed. R. Evid. 703 is not intended to abolish the

hearsay rule and to allow a witness, under the guise of giving expert testimony, to become the

mouthpiece for witnesses upon whose out-of-court statements or opinions the expert purports to

base his opinion.   In re TMI Litig., 193 F.3d 613, 697 (3d. Cir. 1999). Thus, courts routinely
exclude opinions where, as here, such opinions are based on unsubstantiated information

provided by a party or their counsel. Legendary Art, LLC v. Godard, 2012 WL 3550040, at *4




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(E.D. Pa. Aug. 17, 2012) (excluding expert testimony relied exclusively on the self-serving data

provided by the plaintiff, and conducted no independent verification of that data).

       DEFENDANT’S MOTION IN LIMINE NO. 6: Any introduction of “representative”

evidence of liability and damages should be disallowed based on the record before this Court.

Plaintiffs have indicated that they intend to call 8 Plaintiffs and Opt-In Plaintiffs from a

collective group consisting of 351 mortgage loan officers who submitted consents to join this

action, and out of putative “state law” classes under Rule 23 comprised of more than 1,000
mortgage loan officers. Plaintiffs appear to contend that the testimony of 8 mortgage loan

officers will be “representative” of the experiences of all of the aforementioned mortgage loan

officers, despite the fact that members of the collective and putative classes worked at a

multitude of locations, under a multitude of managers, during different time periods, and

notwithstanding that the testimony elicited during discovery demonstrates that there is a wide

variance in experiences amongst the members of the collective and the putative classes. These

facts make it impossible for a fact finder to extrapolate the experiences of the testifying Plaintiffs

to the non-testifying Plaintiffs and class members, so as to justify the imposition of liability or an

assessment of damages as to the entire class. The use of any such representative testimony for

purposes of determining liability and/or damages would raise serious constitutional and other

evidentiary issues, and, if accepted, prevent Defendant from receiving a fair trial consistent with

due process.

       If the Court concludes that Plaintiffs may seek to establish liability and/or damages

through representative evidence, it should (1) require that a statistically meaningful and sound

representative sample of individual Plaintiffs testify at trial to establish collective or class wide

liability; and (2) require that each individual mortgage loan officer be required to testify, if

necessary, regarding damages. While “[t]he use of statistical evidence and methods in the
American justice system to establish liability and damages is appropriate, particularly in mass

injury cases,” due process requires the implementation of “appropriate modeling techniques for

reaching statistically significant and reliable conclusions.” In re Simon II Litig., 211 F.R.D. 86,


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150, 153 (E.D.N.Y. 2002) vacated on other grounds, 407 F.3d 125 (2d Cir. 2005); see also

Morgan v. Ford Motor Co., No. 06-1080 (JAP), 2007 WL 1456154, at *6-7, 9 (D.N.J. May 17,

2007) (permitting the selection of bellwether plaintiffs, but cautioning that “the sample must be

representative to maintain the parties’ due process rights”).

       DEFENDANT’S MOTION IN LIMINE NO. 7: Plaintiffs should be prohibited from

introducing testimony from witnesses not identified in their list of witnesses for trial and offers

of proof, Dkt. No. 178. Plaintiffs have indicated, through trial subpoenas served on defense
counsel, that they intend to call the following Citizens’ managers and employees at trial, each of

whom they failed to identify in their list of witnesses for trial – i.e., Messrs. Egan, Gamache,

Gundlach, Kraus, Nard, Mathieson, Ocko and Sutton. This Court should preclude Plaintiffs from

introducing testimony from these witnesses because they were not properly and timely identified.

Neither this Court’s Orders, the Local Rules nor basic fairness permit this sort of gamesmanship,

and Plaintiffs should not be permitted to call witnesses not properly identified before trial.

                                                  Respectfully submitted,
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Dated: August 7, 2017                             Counsel for Defendant


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, this 7th day of August, 2017, the foregoing

Memorandum of Law in Support of Defendant’s Omnibus Motion In Limine was filed

electronically. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all counsel indicated on the electronic filing receipt. Parties may access this filing

through the Court’s ECF system.


                                                   /s/ Thomas E. Hill
                                                   Counsel for Defendant
